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                                                                FILED: December 16, 2013


                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT


                                        ___________________

                                            No. 12-8052 (L)
                                        (8:04-cr-00235-RWT-9)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a Dobie Parker

                       Defendant - Appellant

                                        ___________________

                                              No. 13-4208
                                        (8:04-cr-00235-RWT-9)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, Dobie Parker

                       Defendant - Appellant
Appeal: 12-8052     Doc: 44        Filed: 12/16/2013 Pg: 2 of 2
                  Case 8:04-cr-00235-DKC Document 1664 Filed 12/16/13 Page 2 of 2

                                      ___________________

                                         MANDATE
                                      ___________________

              The judgment of this court, entered 10/17/2013, takes effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                               /s/Patricia S. Connor, Clerk
